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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION
                                   CINCINNATI, OH

                                                   )
 Ohio Justice and Policy Center                    )    Case No:
 Plaintiff,                                        )
                                                   )    Judge:
 vs.                                               )
                                                   )    Magistrate Judge:
 Annette Chambers Smith, et al.                    )
 Defendants.                                       )
                                                   )
                                                   )    DECLARATION OF ANGELA LARSEN
                                                   )
                                                   )
                                                   )



I, Angela Larsen, pursuant to 28 U.S.C. §1746, declare under penalty of perjury as follows:

   1. I have personal knowledge of the facts stated herein.

   2. I am employed as an attorney at the Ohio Justice and Policy Center. On February 27,

       2025, I received in response to a Public Records Request I filed with the Ohio

       Department of Rehabilitation and Correction, the attached documents. One is a report of

       all incidents related to contraband and legal mail between 2020 and 2024, and the other is

       a chart showing the amount of incoming legal mail in ODRC facilities between January

       2021 and December 2024. These documents comprise pages 1-46 and 48 of Exhibit F.

   3. Additionally, on April 25, 2025, I received in response to a Public Records Request a

       report of all incidents related to contraband and legal mail between January 1, 2025, and

       April 22, 2025. This document is page 47 of Exhibit F.

I declare under penalty of perjury that the foregoing is true and correct.
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/s/Angela S. Larsen
Angela S. Larsen


Dated: April 29, 2025
